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SUMMONS IN A CIVIL ACTION (AO 440)


UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA




JOSEPH REYNA,

Plaintiff,


v.


U.S. AGENCY FOR GLOBAL MEDIA,

Defendant.


Civil Action No. __________

(To be assigned by the Clerk)




SUMMONS IN A CIVIL ACTION


TO:

U.S. Agency for Global Media (USAGM)

c/o General Counsel

330 Independence Avenue SW

Washington, DC 20237




A lawsuit has been filed against you.
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                                                                                                  14


Within 30 days after service of this Summons on you (not counting the day you received it)—or

60 days if you are the United States or a United States agency, officer, or employee sued in an

official capacity—you must serve on the Plaintiff an answer to the attached Complaint or a

motion under Rule 12 of the Federal Rules of Civil Procedure.


The answer or motion must be served on:


Joseph Reyna

Dreams Over Dollars

28251 Boerne Stage Road

Boerne, TX 78006

whitehat@joecattt.com

(956) 202-5580


If you fail to respond, judgment by default will be entered against you for the relief demanded in

the Complaint. You also must file your answer or motion with the Court.




CLERK OF COURT


Date: May 26, 2025


______________________________

Signature of Clerk or Deputy Clerk:
